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                      1                             CASE NO. 2:21-cv-7572-JAK
                      2                    UNITED STATES DISTRICT COURT
                                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
                      3
                      4                             In re: Zetta Jet USA, Inc., et al.
                      5                                         Debtors.
                      6               JONATHAN D. KING, solely in his capacity as Chapter 7
                                        Trustee of Zetta Jet USA, Inc and Zetta Jet PTE, Ltd.,
                      7
                                                               Appellant,
                      8
                                                                   vs.
                      9
                          Li Qi, Universal Leader Investment Limited, Glove Assets Investment Limited, and
                    10                               Truly Great Global Limited,
                    11                                         Appellees.
                    12
                    13      Appeal from the United States Bankruptcy Court, Central District of California
                                             Bankruptcy Case No. 2:17-bk-21386-SK
                    14                        Adversary Case No. 2:19-ap-01383-SK
                    15
                    16                            APPELLANT’S OPENING BRIEF
                    17
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                                                                                         APPELANT’S OPENING BRIEF
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                      1                    CORPORATE DISCLOSURE STATEMENT
                      2
                                Both debtors are named in the caption. Zetta Jet PTE Ltd. owns 100 percent of
                      3
                          the shares of Zetta Jet USA Inc. Zetta Jet PTE Ltd. is partially owned by Truly Great
                      4
                      5   Global Limited and Asia Aviation Holdings PL, neither of which is publicly held and,
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                          upon information and belief, neither of which has a parent corporation. No publicly
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                      8   held corporation owns 10 percent or more of the stock in either debtor.

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                      1                  STATEMENT OF APPELLATE JURISDICTION
                      2         The Bankruptcy Court has subject matter jurisdiction over the Debtors’
                      3   bankruptcy cases under 28 U.S.C. §§ 157 and 1334. On August 20, 2021, the
                      4   Bankruptcy Court issued a final judgment in favor of Universal Leader Investment
                      5   Limited (“UL”), Glove Assets Investment Limited (“Glove Assets”), Truly Great
                      6   Global Limited (“Truly Great”), and Li Qi (collectively, “Defendants”) on their
                      7   motion to dismiss the Trustee’s Amended Adversary Complaint (“FAC”). On August
                      8   31, 2021, the Trustee timely filed a notice of appeal. This Court has appellate
                      9   jurisdiction under 28 U.S.C. §§ 158(a)(1) and (c)(1).
                    10                             STATEMENT OF THE ISSUES
                    11          1.     Whether the Bankruptcy Court erred by dismissing the FAC.1
                    12          2.     Whether the Bankruptcy Court erred by holding that § 548 does not
                    13    allow the Trustee to avoid transfers of an interest of a debtor in property that, absent
                    14    a prepetition transfer, would have constituted property of the estate (disagreeing with
                    15    In re French, 440 F.3d 145 (4th Cir. 2006)).
                    16          3.     Whether the Bankruptcy Court erred by holding that the presumption
                    17    against extraterritoriality bars avoidance of a fraudulent transfer to a U.S.
                    18    correspondent bank designated by a transferee to receive the transfer on its behalf.
                    19          4.     Whether the Bankruptcy Court erred by holding that § 548 does not
                    20    allow the Trustee to avoid obligations fraudulently incurred in the U.S.
                    21          5.     Whether the Bankruptcy Court erred in declining to apply §§ 548 and
                    22    550 to avoid and recover extraterritorial transfers to the Defendants on account of
                    23    fraudulent obligations incurred by the Debtors in the U.S.
                    24          6.     Whether the Bankruptcy Court erred by declining to apply § 548 to
                    25
                    26    1
                           Unless otherwise noted, all section and chapter references are to the Bankruptcy
                    27    Code (11 U.S.C. § 1, et seq.), all defined terms have the same meaning as in the FAC,
                          and all emphasis is added.
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DLA P IPER LLP (US)
    LOS A NGEL ES                                                            APPELLANT’S OPENING BRIEF
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                      1   recover fraudulent transfers made outside the U.S. from the Defendants that filed
                      2   proofs of claim in the U.S. pursuant to § 501 as part of the Bankruptcy Court’s
                      3   inherent equitable power to adjust the debtor-creditor relationship and determine each
                      4   claimant’s pro rata share of distributions from the estate and related statutory
                      5   provisions under 28 U.S.C. § 157(b) and §§ 105(a) and 502.
                      6         7.     Whether the Bankruptcy Court erred in dismissing Count VI that sought
                      7   to recharacterize a $15 million loan as an equity interest that was part of a proof of
                      8   claim filed with the Bankruptcy Court on the basis that funding of the loan was made
                      9   outside the U.S.
                    10          8.     Whether the Bankruptcy Court erred by dismissing Counts VIII and IX
                    11    because the Trustee did not file a separate Rule 15 motion for leave to amend.
                    12          9.     Whether the Bankruptcy Court erred by not granting the Trustee leave to
                    13    amend the original Complaint to add new claims or parties or both as part of the order
                    14    dismissing the original Complaint.
                    15          10.    Whether the Bankruptcy Court erred by dismissing Count X where the
                    16    Bankruptcy Court erroneously dismissed the other counts.
                    17                                STANDARD OF REVIEW
                    18          A bankruptcy court’s dismissal of an action for failure to state a claim is
                    19    reviewed de novo. In re Turner, 859 F.3d 1145, 1148 (9th Cir. 2017). “Dismissal
                    20    without leave to amend is improper unless it is clear, upon de novo review, that the
                    21    complaint could not be saved by any amendment.” Gompper v. VISX, Inc., 298 F.3d
                    22    893, 898 (9th Cir. 2002); see also Turner, 859 F.3d at 1148.
                    23                              STATEMENT OF THE CASE
                    24    I.    Statutory Framework.
                    25          A.     The federal bankruptcy system is premised on the historical practice
                                       of equity jurisprudence.
                    26
                                Bankruptcy has a unique place in federal law. The federal bankruptcy system
                    27
                          “occupies a full title of the United States Code” and “provides a comprehensive
                    28
DLA P IPER LLP (US)
    LOS A NGEL ES
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                      1   system of rights, obligations and procedures, as well as complex administrative
                      2   machinery.” Sherwood Partners, Inc. v. Lycos, Inc., 394 F.3d 1198, 1201 (9th Cir.
                      3   2005). This system is built on foundations particular to bankruptcy proceedings that
                      4   are “inherently proceedings in equity” and, more specifically, “in the nature of
                      5   proceedings in rem.” Local Loan Co. v. Hunt, 292 U.S. 234, 240-41 (1934).
                      6   Accordingly, bankruptcy courts are “essentially courts of equity” and apply “the
                      7   principles and rules of equity jurisprudence.” Pepper v. Litton, 308 U.S. 295, 303
                      8   (1939).
                      9         B.     The Bankruptcy Code provides the statutory framework governing
                                       the administration of claims and distribution of property of the
                    10
                                       estate to creditors on a fair and equitable basis.
                    11          In enacting bankruptcy law, Congress “gave special attention to the subject of
                    12    making the bankruptcy laws inexpensive in their administration” to “secure a prompt
                    13    and effectual administration and settlement of the estate.” Katchen v. Landy, 382 U.S.
                    14    323, 328 (1966). Bankruptcy courts have jurisdiction to hear and determine “all cases
                    15    under title 11 [i.e., the Bankruptcy Code] and all core proceedings,” including
                    16    “allowance or disallowance of claims against the estate” (28 U.S.C. § 157(b)(2)(B)),
                    17    “counterclaims by the estate against persons filing claims against the estate”
                    18    (§ 157(b)(2)(C)), “proceedings to determine, avoid, or recover fraudulent
                    19    conveyances,” (§ 157(b)(2)(H)), and “other proceedings affecting . . . the adjustment
                    20    of the debtor-creditor or equity security holder relationship” (§ 157(b)(2)(O)).
                    21          Chapter 5’s provisions regulate the claims administration process (§§ 501-511)
                    22    and define property of the estate (§ 541) to include all property “wherever located and
                    23    by whomever held” around the globe. A creditor may file a “proof of claim” to assert
                    24    its interest in, and receive distributions from, the estate. § 501. “Foreign creditors have
                    25    the same rights regarding . . . participation in a case under [the Bankruptcy Code] as
                    26    domestic creditors.” § 1513. A proof of claim is “allowed” unless a party in interest
                    27    objects. § 502(a). If an objection is made, the bankruptcy court “shall determine the
                    28
DLA P IPER LLP (US)
    LOS A NGEL ES
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                      1   amount of such claim” and “allow such claim in such amount.” § 502(b). A trustee
                      2   must “object to the allowance of any claim that is improper.” § 704(a)(5). A claim
                      3   filed by the recipient of a fraudulent transfer (or other avoidable transfer) “shall” be
                      4   disallowed unless the recipient has “paid the amount, or turned over any such
                      5   property, for which such entity or transferee is liable.” § 502(d).
                      6         “[A] bankruptcy court has full power to inquire into the validity of any claim
                      7   asserted against the estate and to disallow it.” Pepper, 308 U.S. at 305. After the
                      8   bankruptcy case, proceeds are distributed to creditors with allowed claims pro rata
                      9   less administrative expenses. § 726.
                    10          C.     The Bankruptcy Code gives a trustee broad powers to avoid and
                                       recover transfers and obligations for the estate.
                    11
                                Chapter 5 (§§ 547, 548, 550) also gives a trustee power to avoid preference
                    12
                          fraudulent transfers and fraudulently incurred obligations, and to recover such
                    13
                          property for the estate. These avoidance powers ensure that all creditors are treated
                    14
                          fairly and equitably by restoring what was wrongfully taken from, and thus depleted,
                    15
                          the estate before commencement of the cases. Under § 548, a trustee may avoid any
                    16
                          transfer of an interest of the debtor in property, or any obligation incurred by the
                    17
                          debtor, if the transfer or incurrence of an obligation was made with actual intent to
                    18
                          defraud creditors or was not made in exchange for reasonably equivalent value
                    19
                          (known as “constructive fraud”).
                    20
                                D.     The Bankruptcy Code also grants the bankruptcy court inherent
                    21                 equitable powers.
                    22          Along with the express powers under the statutory framework above, the
                    23    bankruptcy court retains general equitable powers under § 105(a) to “issue any order,
                    24    process, or judgment that is necessary or appropriate to carry out the provisions of
                    25    this title,” which authorizes the bankruptcy court, consistent with power to adjudicate
                    26    core proceedings under 28 U.S.C. § 157(b)(2), to enter orders adjusting the debtor-
                    27    creditor relationship to ensure the equitable treatment of all creditors with respect to
                    28    distributions from the estate. One aspect of this adjustment process is the equitable
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                      1   power of the bankruptcy court to avoid and recover fraudulent and preferential
                      2   transfers made to a claimant to restore assets fraudulently or preferentially taken from
                      3   the estate before the bankruptcy so they can be distributed equally to all claimants.
                      4   Those powers also include the power to recharacterize transactions (i.e., disregarding
                      5   the form of a transaction that is at odds with its economic substance or “economic
                      6   realities”). See In re Bonham, 229 F.3d 750, 763-64 (9th Cir. 2000) (§ 105(a)
                      7   authorizes bankruptcy courts “to adjudicate equities arising out of the relationship
                      8   between the several creditors”) (quoting Sampsell v. Imperial Paper Corp., 313 U.S.
                      9   215, 219 (1941)).
                    10    II.   Statement of the Facts.
                    11          A.     The Debtors’ operations.
                    12          Geoff Cassidy, the Debtors’ former board member and managing director, is a
                    13    known fraudster. (5-ER-2305–2306 ¶¶ 74-76; 5-ER-2309 ¶ 91.) Cassidy entered the
                    14    private jet charter business in Singapore managing a single plane through his
                    15    company, AAC. (5-ER-2306 ¶ 77.) But he could not expand his business without
                    16    obtaining a “Part 135 Certificate” from the Federal Aviation Administration, which
                    17    is required to operate certain commercial flights for paying customers (Id. ¶ 78.) Part
                    18    135 Certificates are tightly regulated, difficult to obtain and maintain, and impose
                    19    significant, complex, and ongoing operational and safety requirements. (Id.)
                    20          Cassidy needed a partner with a Part 135 Certificate to bring his fraudulent
                    21    scheme to fruition. (Id. ¶¶ 77-78; 5-ER-2309–2310 ¶ 95.) James Seagrim and Matt
                    22    Walter owned a successful, revenue-generating charter airline (which became Zetta
                    23    USA) with a Part 135 Certificate. (5-ER-2306 ¶ 79.) Cassidy approached them about
                    24    creating a new, combined airline. (Id. ¶¶ 81-82.) Ultimately, Cassidy, Seagrim, and
                    25    Walter incorporated Zetta PTE in Singapore in July 2015. (5-ER-2307 ¶ 83.)
                    26          Cassidy operated the Debtors as a fraudulent, Ponzi-like scheme. Typical of a
                    27    Ponzi scheme, Cassidy used his fraudulent business plan and promised outsized returns
                    28    to induce investors and financiers to provide funds. (5-ER-2309–2310 ¶ 95; 5-ER-2315
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                      1   ¶ 128; 5-ER-2317 ¶ 131.) He used those funds to partially repay prior investors as
                      2   well as to purchase overpriced planes from Bombardier and its broker Jahid Fazal-
                      3   Karim in exchange for commercial bribes and kickbacks. In two years, Cassidy took
                      4   at least $10 million in kickbacks, bribes, and embezzlement. At the same time, he
                      5   saddled the Debtors with almost half a billion dollars in unsustainable debt for
                      6   overpriced planes in a down market, all of which – as Cassidy knew and intended –
                      7   was to the detriment of the Debtors and their creditors. (5-ER-2294 ¶ 1; 5-ER-2309
                      8   ¶ 93; 5-ER-2310–2315 ¶¶ 97-126.)
                      9         Cassidy first sought investment from Li, a wealthy investor residing in Hong
                    10    Kong. (5-ER-2300 ¶ 35; 5-ER-2315 ¶ 128; 5-ER-2317 ¶ 131.) Li made several equity
                    11    investments and loans to the Debtors through his alter ego companies: UL, Glove
                    12    Assets and Truly Great. (5-ER-2317 ¶ 131.) Li also served as a director of Zetta PTE.
                    13    (5-ER-2300–2301 ¶¶ 35-42; 5-ER-2303–2304 ¶¶ 56-64; 5-ER-2317 ¶ 133.)
                    14          B.     The initial acquisitions of Planes 6 and 7.
                    15          In December 2015, Li, through UL and Glove Assets, lent the Debtors $100
                    16    million to purchase two private jets, Planes 6 and 7, on terms that were extremely
                    17    unfavorable to the Debtors. (5-ER-2317 ¶¶ 131-32; 5-ER-2324 ¶¶ 174-77; 5-ER-
                    18    2329–2330 ¶¶ 196-203; 5-ER-2333–2334 ¶¶ 216-21.)
                    19          The structure of the 2015 acquisitions. The Debtors’ purchases were
                    20    implemented through disguised finance leases (“2015 Finance Leases”) under which
                    21    UL and Glove Assets (as “Beneficiaries”), through a corporate trust at Wells Fargo in
                    22    Utah as “owner trustee” and “Lessor” entered into “Master Aircraft Finance Leases”
                    23    with the debtor Zetta PTE as “Lessee” that enabled the Zetta PTE to exercise a
                    24    “purchase option” for no additional consideration following 60 “lease payments,”
                    25    (i.e., debt service calculated to repay “principal” and “interest” totaling $50 million,
                    26    plus a $20 million “balloon” payment at the end of the term (implying a well-above-
                    27    market 12% effective rate of return), which payment obligations could not be
                    28    terminated. (5-ER-2327 ¶ 187; 5-ER-2340 ¶ 253; 5-ER-2486–2488.) The 2015
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                      1   Finance Leases contained terms that were extremely unfavorable to the Debtors,
                      2   called for “lease” payments that were well above market value, and also required the
                      3   Debtors to pay $50 million per plane when each plane had a fair market value of $37.5
                      4   million and a value of $22.7-28.7 million per plane using a discounted cash flow
                      5   analysis. (5-ER-2329 ¶ 197; 5-ER-2330–2331 ¶¶ 202, 204.)
                      6         The 2015 Finance Leases were required to close in the U.S. UL and Glove
                      7   Assets required that Planes 6 and 7 be purchased, and the disguised financing
                      8   transactions be consummated and obligations under such transactions thus incurred,
                      9   in the U.S. to ensure that the aircraft qualified for registration under FAA regulations.
                    10    (5-ER-2295 ¶ 8; 5-ER-2325 ¶ 178.) This was important because without FAA
                    11    registration and the Part 135 Certificate, the planes would have no commercial value
                    12    because the Debtors could not charter flights for paying customers. (5-ER-2325
                    13    ¶ 178.)
                    14          To bolster the ability to qualify for FAA registration, UL, Glove Assets, and
                    15    the Debtors (1) required Zetta PTE to confirm that it “became obliged” in the U.S.
                    16    when it took delivery of the Planes in Connecticut; (2) used a U.S. corporate trustee
                    17    (nominal defendant Wells Fargo) to act as the “lessor” and “owner” to satisfy the
                    18    FAA’s U.S. citizen ownership requirements; (3) used an Oklahoma law firm to
                    19    conduct the closing and file closing documents with the FAA (at least with respect to
                    20    Plane 6); (4) required that the Planes be maintained at a U.S. maintenance facility;
                    21    and (5) required all payments to be made in U.S. dollars to the “Payment Location”
                    22    at the HSBC Bank in New York (“HSBC NY”) for credit to the HSBC Bank Hong
                    23    Kong (“HSBC HK”) US correspondent bank account at HSBC NY in favor of UL’s
                    24    bank account in Hong Kong. (5-ER-2502 § 3.26) (“‘Payment Location’ means in
                    25    relations to all payments hereunder: HSBC Bank, New York, USA, SWIFT code:
                    26    MRMDUS33, Federal Routing number code: 021001088, For credit to: a/c [account
                    27    number redacted], THE HONGKONG & SHANGHAI BANKING CORPORATION
                    28    LIMITED,       HONG       KONG       PRIVATE        BANKING        DIVISION,       BIC:
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                      1   HSBCHKHHPBD, In favour of: Universal Leader Investment Limited. A/C: [account
                      2   number redacted]”). The parties also wanted the transactions to close in Connecticut
                      3   because Connecticut law exempted aircraft from sales and use tax. (5-ER-2325
                      4   ¶ 178.)
                      5         All of the closing conditions were satisfied, and signature pages released, in the
                      6   U.S. and, accordingly, the 2015 Plane 6 and 7 Leases became legally effective, and
                      7   the Debtors thereby incurred obligations, in the U.S. to pay principal and interest in
                      8   the form of “lease” payments to UL and Glove. (5-ER-2325 ¶ 178; 5-ER-2328 ¶¶ 191-
                      9   94; 5-ER-2332-33 ¶¶ 211-14.)
                    10          Zetta Jet PTE subsequently paid approximately $12 million in such “lease
                    11    payments” under the 2015 Plane 6 and 7 Leases from its U.S. dollar denominated
                    12    bank account in Singapore, through a U.S. correspondent bank account, to HSBC NY.
                    13    As noted above, the funds were then transferred by intrabank transfer to HSBC HK
                    14    for credit to UL’s bank account. (5-ER-2296 ¶ 9.)
                    15          C.     The 2016 Minsheng Refinancing of Planes 6 and 7.
                    16          By summer 2016, the Debtors were once again out of cash. (5-ER-2335 ¶ 229.)
                    17    Cassidy again approached Li, this time with a plan to refinance Planes 6 and 7 with
                    18    Minsheng, an aviation financier based in the People’s Republic of China. (5-ER-
                    19    2335–36 ¶¶ 230-32.) Consistent with Cassidy’s earlier promise to pay Li an exorbitant
                    20    return to invest in Cassidy’s fraudulent scheme, Cassidy and Li agreed that the
                    21    refinancing would trigger the onerous early termination penalty under the 2015 Plane
                    22    7 Finance Lease, pay Li $55 million for Plane 7, and leave in place the full $47.4
                    23    million remaining on the 2015 Plane 6 Finance Lease, even though the Debtors would
                    24    incur another $40 million in debt to Minsheng for the same plane. Cassidy thanked
                    25    “uncle” Li for his earlier support and told him: “We are partners and we are the
                    26    priority over the banks.” (5-ER-2336 ¶ 231.)
                    27          The Minsheng Refinancing. The Debtors borrowed $80 million from Minsheng
                    28    through disguised finance leases secured by Planes 6 and 7. (5-ER-2348–2350 ¶¶ 282,
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                      1   288.) The transaction involved three steps, all of which closed simultaneously in the
                      2   U.S.: (1) Minsheng (as buyer) and UL (Plane 7)/Glove Assets (Plane 6), through the
                      3   same U.S. corporate trustee, Wells Fargo (as sellers), entered a sale-leaseback
                      4   agreement under which UL/Glove Assets agreed to “sell” Planes 6 and 7 to Minsheng,
                      5   (2) Minsheng then “leased” Planes 6 and 7 to TVPX, the Debtors’ U.S. corporate
                      6   trustee, under a finance lease whereby the Debtors agreed to pay “principal and
                      7   interest” in 60 quarterly “rent” installments with a nominal $1 purchase option at the
                      8   end of the term, which payment obligations could not be terminated, and (3) TVPX,
                      9   in turn, subleased Plane 6 and 7 to Zetta USA with pass through repayment terms so
                    10    that the Debtors could operate the aircraft under Zetta USA’s Part 135 Certificate.
                    11          The $80 million in refinancing proceeds were used to pay:
                    12          (1) $55 million to UL for Plane 7, at least $19 million more than the fair
                    13               market value ($35.7 million), (5-ER-2339 ¶ 250; 5-ER-2346 ¶ 273);
                    14          (2) $12,410,240 to a Minsheng affiliate to pay deposits on four aircraft, three
                    15               of which were never delivered, (5-ER-2346 ¶ 273); and
                    16          (3) $12,559,760 to Zetta PTE (id.). Cassidy promptly misappropriated $2.66
                    17               million and paid another $1 million to his company for his equity
                    18               investment in Zetta PTE. (5-ER-2314 ¶ 124; 5-ER-2349 ¶ 284; 5-ER-
                    19               2351–2352 ¶ 296.)
                    20          Unlike a typical refinancing, the Minsheng Refinancing – which covered both
                    21    Planes 6 and 7 – did not extinguish the debt under the 2015 Plane 6 Finance Lease.
                    22    Rather, under a supplemental “clarification” (“Plane 6 Clarification”) (5-ER-2682–
                    23    2710), the Debtors still owed $48.4 million, at 10% interest, to Glove Assets for the
                    24    remaining principal balance on the 2015 Plane 6 Finance Lease. (5-ER-2344 ¶ 265.)
                    25          The Minsheng Refinancing was disastrous: it deepened the Debtors’
                    26    consolidated insolvency by another $9 million, for a total balance sheet deficit of $32
                    27    million. (5-ER-2349 ¶ 283.)
                    28          The Minsheng Refinancing closes in, and transfers made through, the U.S. Like
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                      1   the 2015 Finance Leases, the parties designed the Minsheng Refinancing to close in
                      2   the U.S. through U.S. corporate trustees as “lessor” and “lessee” so that Planes 6 and
                      3   7 could be registered with the FAA and operated under the Part 135 Certificate and
                      4   comply with U.S. citizenship requirements. (5-ER-2346–2347 ¶ 275.) The parties also
                      5   selected a U.S. escrow agent, IATS, to use its U.S. bank account to disburse all closing
                      6   payments.
                      7         The parties retained the Oklahoma law firm Daugherty Fowler to act as FAA
                      8   counsel, gather and release signature pages from the closing room in Oklahoma, and
                      9   immediately register the documents with the FAA in Oklahoma. (5-ER-2345 ¶ 270.)
                    10    On September 20, 2016, after all closing conditions had been met, the parties closed
                    11    the Minsheng Refinancing and incurred the obligations thereunder by releasing their
                    12    signature pages in Oklahoma. (5-ER-2345–2346 ¶¶ 270-72.)
                    13          The parties required that all funds transferred at closing be held by IATS in
                    14    Oklahoma at its bank account at Bank of America in New York. The parties required
                    15    all transfers at closing go through U.S. banks to bolster FAA registration of Plane 6
                    16    and Plane 7. All closing funds were transferred from, through, and to U.S. bank
                    17    accounts. (5-ER-2346 ¶ 272.) The FAC attached a chart showing the flow of funds.
                    18    (6-ER-3443–3445.) Upon release of signature pages, IATS initiated wire transfers
                    19    from its New York closing account: (a) $55 million to HSBC HK’s US correspondent
                    20    bank account at HSBC NY in favor of UL’s bank account at HSBC HK in Hong
                    21    Kong; (b) $12,410,240 to Minsheng; and (c) $12,559,760 to Zetta PTE. (5-ER-2346
                    22    ¶ 273.) The Planes were required to be registered with the FAA and operated by Zetta
                    23    USA under its Part 135 Certificate. (See e.g., 5-ER-2810, 2823, 2850; 6-ER-2944,
                    24    2957, 2984, 3076, 3088, 3115, 3208, 3220, 3247.) Daugherty Fowler registered the
                    25    documents with the FAA in Oklahoma. (5-ER-2347 ¶ 276.) Plane 6 was delivered to,
                    26    and accepted by, the Debtors in Oregon. (5-ER-2348 ¶ 278.)
                    27          D.     The Third Investment.
                    28          Cassidy’s fraud was catching up to him by summer 2017. The Debtors
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                      1   desperately needed capital to fund operations. Seagrim, Walter, and Cassidy pleaded
                      2   with Li to make an additional loan. Li agreed to make an additional cash infusion. (5-
                      3   ER-2355–2356 ¶ 318.)
                      4          In exchange for a $15 million “loan” (“Third Investment”) from UL, Zetta
                      5   PTE’s California shareholders Seagrim and Walter would transfer approximately 20
                      6   percent of the equity to Truly Great. (5-ER-2356 ¶ 321.) Around June 12, 2017,
                      7   Cassidy (as Managing Director of Zetta PTE) wrote Li, confirming a “shareholder
                      8   loan” of $15 million that would be “interest free on the condition that new investors
                      9   are brought in under the agreement with BNP Paribas.” (5-ER-2356 ¶ 319.) At the
                    10    time, the parties intended the Third Investment to be an equity investment, not a true
                    11    loan. Li expressly rejected a bridge loan as opposed to an equity investment in a June
                    12    2017 email: “Until now, I invest the company about 119m USD, so when [Cassidy]
                    13    come to ask another 15m USD to be bridge money, I don’t agree, I have put one huge
                    14    egg to one basket, big risk . . . . But I said I need another 10% shares, this is not to
                    15    buy the shares, this is for the risk, otherwise it is too unfair[.]” (5-ER-2356 ¶ 320.)
                    16           E.    The Debtors’ Downfall.
                    17           By summer 2017, the Debtors desperately needed cash to pay their bills. (5-
                    18    ER-2356–2357 ¶ 324.) Cassidy was searching for other victims, but he could not find
                    19    them soon enough. (Id.) Zetta PTE’s CFO discovered Cassidy’s fraud during an audit
                    20    and resigned. (5-ER-2357 ¶ 325.) In August 2017, Walter emailed the board and the
                    21    Debtors’ new CFO that the company had been operating without proper financial
                    22    controls and accused Cassidy of running a Ponzi scheme. (Id. ¶ 326.) The board
                    23    removed Cassidy and Tang from their roles at the Debtors, and the Debtors sued
                    24    Cassidy for RICO and fraud. (Id. ¶¶ 327-28.) The Debtors could not recover and filed
                    25    for bankruptcy on September 15, 2017. (Id. ¶ 329.)
                    26    III.   Relevant Procedural History.
                    27           A.    UL and Glove Assets file proofs of claim.
                    28           On April 6, 2017, UL and Glove Assets filed proofs of claim seeking
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                      1   $78,869,523.90. (1-ER-95–192.) The UL proof of claim sought amounts due under
                      2   the Third Investment as well as two earlier loans. (1-ER-95–117.) The Glove Assets
                      3   proof of claim sought amounts due under the Plane 6 Clarification, which relates to
                      4   the 2015 Plane 6 and 7 Finance Leases and was consummated as part of the Minsheng
                      5   Refinancing. (1-ER-118–192.)
                      6         B.     The Trustee files the adversary proceeding to avoid transfers and
                                       obligations with the Defendants.
                      7
                                On September 13, 2019, the Trustee filed an adversary complaint (“Original
                      8
                          Complaint”) against the Defendants and Minsheng.2 (1-ER-221–285.) The Original
                      9
                          Complaint sought to avoid and recover fraudulent transfers and obligations on the
                    10
                          2015 Plane 6 and 7 Finance Leases and the $55 million payment to UL in the
                    11
                          Minsheng Refinancing, to avoid and recover preferential transfers to the Defendants,
                    12
                          to recharacterize the Third Investment as equity, to seek compensation for violation
                    13
                          of the automatic stay, and to disallow proofs of claim. (1-ER-224 ¶ 6.)
                    14
                                On July 29, 2020, the Bankruptcy Court dismissed most of the Original
                    15
                          Complaint based on the presumption against extraterritoriality (“First Ruling”). (See
                    16
                          generally 4-ER-2126–2175.) The Bankruptcy Court denied the motion regarding the
                    17
                          stay violation, and also granted the Trustee leave to amend. (4-ER-2173, 2175.)
                    18
                                On March 29, 2021, the Trustee filed the FAC. (5-ER-2292–2873; 6-ER-2874–
                    19
                          3445.) In addition to the previous claims, the FAC added new counts to recharacterize
                    20
                          the 2016 Planes 6 and 7 Leases as disguised financings in response to grounds raised
                    21
                          by the Defendants in their motion to dismiss the Original Complaint.3 (1-ER-314–
                    22
                          317, 328; 5-ER-2383–2387 ¶¶ 499-503, 509-525.)
                    23
                                On August 17, 2021, the Bankruptcy Court struck the new counts and dismissed
                    24
                    25
                    26
                          2
                    27     The Trustee settled with Minsheng.
                          3
                           The Trustee did not reassert the preference claims. He intends to bring the preference
                    28    claims in Singapore and they are not part of this appeal.
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                      1   the FAC without leave to amend (“Second Ruling”).4 (35-ER-10350–10394.) Shortly
                      2   thereafter, the Bankruptcy Court entered final judgment. (35-ER-10407–10409.) On
                      3   August 31, 2021, the Trustee timely appealed. (35-ER-10427–10542.)5
                      4         C.     Rulings Presented for Review.
                      5         In First and Second Rulings, the Bankruptcy Court held that the §§ 548 and 550
                      6   claims as well as the recharacterization claim were impermissible extraterritorial
                      7   applications of the relevant statutes. Specifically, the Bankruptcy Court held that the
                      8   transfers to HSBC NY were “solely” foreign transfers because the transfer to HSBC
                      9   NY was only “routed” through that bank to UL’s Hong Kong account. (4-ER-2157–
                    10    2160; 35-ER-10373.) The Bankruptcy Court further held that that the parties’ decision
                    11    to close in the U.S. to ensure FAA registration of Planes 6 and 7, to use U.S. corporate
                    12    trustees, to use U.S. bank accounts and a U.S. escrow agent, to receive and pay funds
                    13    to HSBC NY, and other closing steps were insufficient to establish a domestic
                    14    application of § 548. (35-ER-10377.) In the Second Ruling, the Bankruptcy Court
                    15    rejected the Trustee’s argument the obligations were incurred domestically even if the
                    16    transfers were extraterritorial because the meaning of “obligation” was not broader
                    17    than “transfer.” In addition, the Bankruptcy Court reasoned that because § 548
                    18    focuses on the initial fraudulent conduct that ‘depletes’ the estate, the alleged
                    19    fraudulent incurrence of obligations alleged in the FAC, including closing
                    20    “obligations”, in the U.S. “did not deplete the estate of anything.” (35-ER-10377.)
                    21    The Bankruptcy Court further held that the Trustee was precluded from recovering
                    22    transfers made in repayment of a fraudulently incurred obligation under § 550 because
                    23
                    24    4
                            The Bankruptcy Court held that an entity debtor seeking civil contempt damages for
                    25    violating the automatic stay must proceed by motion. (35-ER-10389–10390 n.26.)
                          The Trustee reserves his right to bring a motion and the claim is not part of this appeal.
                    26    5
                            Li also moved to dismiss based on lack of personal jurisdiction. (8-ER-3681–4434.)
                    27    The Trustee opposed the motion and moved for jurisdictional discovery. (25-ER-
                          5485–5582; 26-ER-5583–5670.) The Bankruptcy Court held that the Orders mooted
                    28    both motions and did not reach the merits. (35-ER-10394.)
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                      1   that section only addresses avoided transfers, not fraudulently incurred obligations.
                      2   (35-ER-10378.)
                      3         In   both   Rulings,    the   Bankruptcy    Court    similarly   dismissed   the
                      4   recharacterization count for the Third Investment because, although the equity was
                      5   transferred from the Debtors’ California principals, the loan proceeds were transferred
                      6   outside the U.S. (4-ER-2144–2145, 2163–2164; 35-ER-10384–10385.) The
                      7   Bankruptcy Court dismissed the § 502(d) claim since it was predicated upon the
                      8   sufficiency of the other avoidance counts. (35-ER-10389.)
                      9         Finally, the Bankruptcy Court dismissed the recharacterization counts with
                    10    respect to the 2016 Plane 6 and 7 Finance Leases because those counts were outside
                    11    the leave to amend in the First Ruling. (35-ER-10387–88.)
                    12                           SUMMARY OF THE ARGUMENT
                    13          The Bankruptcy Court’s judgment should be reversed for seven reasons.
                    14          First, the Bankruptcy Court erred when it held that § 548 does not apply
                    15    extraterritorially. Because the statutory text of § 548 allows the Trustee to avoid any
                    16    transfer of “an interest of the debtor in property” that would have become estate
                    17    property, courts have held that § 548 incorporates the extraterritorial definition of
                    18    property of estate in § 541 which covers an interest of a debtor in property “wherever
                    19    located.” Thus, § 548 grants a trustee the power to avoid any fraudulent transfer of
                    20    property “wherever located,” even where the transfer occurs outside the U.S.
                    21          Second, the Bankruptcy Court erred when it determined that transfers of the
                    22    Debtors’ funds to UL’s U.S. correspondent bank in New York was “solely” a foreign
                    23    transfer. Analogous caselaw holds that a claim involving the deliberate use of U.S.
                    24    correspondent bank accounts to effect a “transfer” involves the domestic application
                    25    of a statute. Because the parties expressly designated UL’s U.S. correspondent bank
                    26    account at HSBC NY as the “payment location” for all transfers, the Trustee’s claims
                    27    only seek to apply § 548 domestically.
                    28          Third, the Bankruptcy Court erred when it determined that the Trustee cannot
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                      1   avoid obligations incurred by the Debtors in connection with the 2015 Planes 6 and 7
                      2   Finance Leases and the Minsheng Refinancing. The Bankruptcy Court disregarded
                      3   the second prong of § 548 that focuses on the fraudulent incurrence, rather than
                      4   performance, of obligations. The Bankruptcy Court also improperly imposed a
                      5   depletion of property requirement on the second prong of § 548 to avoid a
                      6   fraudulently incurred obligation. The FAC alleges that the Debtors fraudulently
                      7   incurred obligation in the U.S. because the transactions closed in the U.S. (including
                      8   collection and release of signature pages in the U.S., execution of documents in the
                      9   U.S., acceptance of aircraft in the U.S., and transfers of closing funds through U.S.
                    10    bank accounts). Thus, the Trustee’s claims only seek to apply § 548 domestically.
                    11           Fourth, the Bankruptcy Court erred when it applied an extraterritoriality
                    12    analysis to subsequent transfers on account of the fraudulently incurred obligations.
                    13    The Bankruptcy Court did not apply precedent holding that once the initial fraudulent
                    14    conduct that is the focus of § 548 has been established to have occurred in the U.S.,
                    15    the Trustee may avoid and recover subsequent transfers regardless whether they are
                    16    extraterritorial.
                    17           Fifth, contrary to established Ninth Circuit precedent, the Bankruptcy Court
                    18    erred when it held that UL’s and Glove Assets’ filing of proofs of claim did not invoke
                    19    the equitable jurisdiction of the bankruptcy court to avoid and recover extraterritorial
                    20    transfers to UL and Glove as part of the domestic claims adjustment process.
                    21           Sixth, the Bankruptcy Court erred by dismissing the Trustee’s claim to
                    22    recharacterize a $15 million “loan” as an equity interest. The $15 million “loan” was
                    23    part of a proof of claim and thus is properly subject to the claims adjustment process.
                    24           Finally, the Bankruptcy Court erred in dismissing the § 502(d) claim because
                    25    the FAC states other claims.
                    26                                        ARGUMENT
                    27    I.     The Trustee asserted valid claims to avoid the relevant transactions.
                    28           The Bankruptcy Court erred when it dismissed the Trustee’s avoidance claims
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                      1   as an impermissible extraterritorial application of § 548. Section 548 applies
                      2   extraterritorially, and even if it did not, this case involves only a permissible domestic
                      3   application of § 548.
                      4         In general, U.S. law “governs domestically but does not rule the world.” RJR
                      5   Nabisco, Inc. v. Eur. Cmty., 579 U.S. 325, 335 (2016). This principal is embodied in
                      6   a canon of statutory construction – the “presumption against extraterritoriality” – that
                      7   provides that federal laws only apply domestically “[a]bsent clearly expressed
                      8   congressional intent to the contrary.” Id. (citing Morrison v. Nat’l Austl. Bank Ltd.,
                      9   561 U.S. 247, 255 (2010)).
                    10          The Supreme Court has provided “a two-step framework for analyzing
                    11    extraterritoriality issues.” Id. at 337. The two “steps” are independent and can be
                    12    analyzed in either order. Id. at 338 n.5.
                    13          The first step asks “whether the presumption against extraterritoriality has been
                    14    rebutted—that is, whether the statute gives a clear, affirmative indication that it
                    15    applies extraterritorially.” Id. at 337. An express statement of extraterritorial
                    16    application is not needed, and “[a]ssuredly context can be consulted as well.” Id. at
                    17    340 (quoting Morrison, 561 U.S. at 265).
                    18          The second step asks “whether the case involves a domestic application of the
                    19    statute.” Id. at 337. Courts “target their inquiry on the focus of congressional concern,
                    20    or, in other words, the transactions that the statute seeks to regulate.” In re Arcapita
                    21    Bank B.S.C.(c), 575 B.R. 229, 244 (Bankr. S.D.N.Y. 2017) (cleaned up). “If the
                    22    conduct relevant to the statute’s focus occurred in the United States, then the case
                    23    involves a permissible domestic application even if other conduct occurred abroad;
                    24    but if the conduct relevant to the focus occurred in a foreign country, then the case
                    25    involves an impermissible extraterritorial application regardless of any other conduct
                    26    that occurred in U.S. territory.” Nabisco, 579 U.S. at 337. See also In re Icenhower,
                    27    757 F.3d 1044, 1050 (9th Cir. 2014).
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                      1         A.     Under Nabisco and Morrison, § 548 applies extraterritorially.
                      2         The Bankruptcy Court erred at the first step because the context of the
                      3   Bankruptcy Code shows that § 548 applies extraterritorially. An “express statement
                      4   of extraterritoriality is not essential” to overcome the presumption; rather, the
                      5   structure and history of the statute are also relevant to the analysis, and “context” may
                      6   be “dispositive.” Nabisco, 579 U.S. at 339-40; see also Morrison, 561 U.S. at 265;
                      7   WesternGeco LLC v. ION Geophysical Corp., 138 S. Ct. 2129, 2137 (2018) (“If the
                      8   statutory provision at issue works in tandem with other provisions, it must be assessed
                      9   in concert with those other provisions.”); In re French, 440 F.3d 145, 151 (4th Cir.
                    10    2006) (“courts may look to ‘all available evidence,’ . . . including the text of the
                    11    statute, the overall statutory scheme, and legislative history”) (quoting Sale v. Haitian
                    12    Ctrs. Council, Inc., 509 U.S. 155, 177 (1993)).
                    13          The extraterritorial reach of § 548 is evident when read in conjunction with
                    14    § 541(a). As French explained, § 548 allows a trustee to avoid any transfer of an
                    15    “interest of the debtor in property,” while § 541(a) defines property of the estate as all
                    16    “interests of the debtor in property . . . wherever located and by whomever held” – in
                    17    other words, anywhere in the world. See French, 440 F.3d at 151 (quoting H.R. Rep.
                    18    No. 82-2320, at 15 (1952)). By incorporating the broad language of § 541 to define
                    19    the property a trustee may recover using his avoidance powers, “§ 548 plainly allows
                    20    a trustee to avoid any transfer of property that would have been ‘property of the estate’
                    21    prior to the transfer in question – as defined by § 541 – even if that property is not
                    22    ‘property of the estate’ now.” Id. (emphasis original). “Congress made manifest its
                    23    intent that § 548 apply to all property that, absent a prepetition transfer, would have
                    24    been property of the estate, wherever that property is located.” Id. at 152; see also In
                    25    re Lyondell Chem. Co., 543 B.R. 127, 151-55 (Bankr. S.D.N.Y. 2016) (finding that
                    26    Congress intended § 548 to apply extraterritorially); SIPC v. Madoff Inv. Secs. LLC
                    27    (Madoff), 480 B.R. 501, 527 (Bankr. S.D.N.Y. 2012) (same); In re FAH Liquidating
                    28    Corp., 572 B.R. 117, 124 (Bankr. D. Del. 2017) (adopting the reasoning of French
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                      1   and Lyondell).
                      2         The Bankruptcy Court erred by failing to consider the surrounding provisions
                      3   of the Bankruptcy Code when it misread Nabisco to, in essence, require a statement
                      4   that “this law applies abroad.” (See 4-ER-2144); Morrison, 561 U.S. at 265 (rejecting
                      5   that requirement). Although Nabisco noted that the question (at the first step) is
                      6   whether the statute “affirmatively and unmistakably” instructs that the statute will
                      7   apply abroad, the Court reiterated that “an express statement of extraterritoriality is
                      8   not essential.” Nabisco, 579 U.S. at 335, 340. Nabisco found context dispositive,
                      9   noting that the statute at issue, RICO, did not expressly state that it applies to
                    10    racketeering activity in foreign countries, but its definition of “racketeering activity”
                    11    encompassed violations of predicate statutes that expressly apply extraterritorially. Id.
                    12    at 340. The same is true here because the phrase “interest of the debtor in property”
                    13    in § 548 incorporates the language of §541, which expressly applies extraterritorially.
                    14          In finding that § 548 does not apply extraterritorially, the Bankruptcy Court
                    15    relied in part on In re Midland Euro Exch. Inc., 347 B.R. 708 (Bankr. C.D. Cal. 2006),
                    16    a ruling rejected by both Lyondell and Madoff. See Lyondell, 543 B.R. at 153-54;
                    17    Madoff, 480 B.R. at 528. The court in Midland Euro misinterpreted French’s holding
                    18    as based on the notion that estate property includes property transferred but not yet
                    19    recovered, which the court found inconsistent with language in § 541 requiring the
                    20    debtor to have an interest in the property as of the commencement of the case. Madoff,
                    21    480 B.R. at 528. However, French explicitly stated that its holding was not based on
                    22    fraudulently transferred property falling within § 541’s definition of estate property.
                    23    Id. (citing French, 440 F.3d at 151 n.2). Rather, it was based on the incorporation of
                    24    § 541’s “interest[] of the debtor in property” language into § 548, which allows the
                    25    trustee to avoid and recover all transfers that would have been estate property but for
                    26    the fraudulent transfer. Madoff, 480 B.R. at 528.
                    27          Moreover, as the Lyondell court noted in rejecting Midland Euro, it would be
                    28    inconsistent for § 541(a)(3) to define estate property to include property recovered
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                      1   from anywhere in the world under § 550, but to prohibit a trustee from avoiding and
                      2   recovering fraudulent transfers that occurred primarily outside the U.S. Lyondell, 543
                      3   B.R. at 154-55.
                      4         For the foregoing reasons, this Court should reject Midland Euro’s reasoning
                      5   and reverse the Bankruptcy Court’s dismissal of the Trustee’s § 548 claim on the basis
                      6   that § 548 does not apply extraterritorially.
                      7         B.     The Trustee’s claims involve a domestic application of § 548 because
                                       the transfers were made, and obligations incurred, in the U.S.
                      8
                                The Bankruptcy Court also erred at the second step because this case involves
                      9
                          only a permissible domestic application of § 548. To be clear, finding error at either
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                          step mandates reversal. See Nabisco, 579 U.S. at 338 n.5.
                    11
                                Section 548 allows a trustee to “avoid any transfer . . . of an interest of the
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                          debtor in property or any obligation . . . incurred by the debtor, that was [fraudulently]
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                          made or incurred . . . .” See § 548. Thus, the focus of § 548 is two-fold: the avoidance
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                          of fraudulent transfers made by the debtor or the avoidance of fraudulent obligations
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                          incurred by the debtor. Because the allegations in the FAC incontrovertibly
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                          demonstrate that transfers of interests of the Debtors in property were made in the
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                          U.S., and that the Debtors incurred obligations in the U.S., the Trustee is seeking only
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                          a domestic application of § 548 rather than an extraterritorial application, as the
                    19
                          Bankruptcy Court incorrectly found.
                    20
                                       1.     The first prong of § 548: Transfers Made.
                    21
                                The focus of § 548 regarding the first prong of § 548 is “the initial transfer that
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                          depletes the property that would have become property of the estate.” (See 4-ER-2151
                    23
                          (citing cases)); Arcapita, 575 B.R. at 244. Here, the transfers made to the Defendants
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                          came from funds that would have become property of the estate. As noted above,
                    25
                          “property of the estate” under § 541 includes property of a debtor “wherever located.”
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                          Thus, funds in Zetta PTE’s dollar-denominated Singapore account would have
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                          become property of the estate. Similarly, the Debtors had an interest in the $80 million
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                      1   in loan proceeds advanced by Minsheng into the IATS escrow account under the
                      2   disguised financing 2016 Plane 6 and 7 Finance Leases. These funds – the Debtors’
                      3   loan proceeds – would also have constituted “an interest of the debtor in property”
                      4   absent transfer. See In re Bay Plastics, 187 B.R. 315, 336 (Bankr. C.D. Cal. 1995)
                      5   (transfer of loan proceeds by lender to selling shareholders constituted transfer of
                      6   debtor property for purposes of California uniform fraudulent transfer act); In re
                      7   Appleseed’s Intermediate Holdings, LLC, 470 B.R. 289, 297-98 (D. Del. 2021)
                      8   (paying loan proceeds directly from lenders to debtors’ shareholders was fraudulent
                      9   transfer of debtor’s property even though debtor never possessed funds and debtor
                    10    was obligated to pay loan proceeds as shareholder dividend under loan agreement);
                    11    In re Rosenshein, 136 B.R. 368, 373-74 (Bankr. S.D.N.Y. 1992) (loan proceeds
                    12    deposited in escrow with title insurer constituted property of the estate because
                    13    debtors were not “merely acting as a conduit for the funds” but signed mortgage notes
                    14    for the loans and deposited loan proceeds into escrow); see also In re Smith, 966 F.2d
                    15    1527, 1533 (7th Cir. 1992) (noting that a debtor’s transfer of borrowed funds is a
                    16    transfer of an interest of a debtor in property and is avoidable).
                    17          The analysis thus turns on whether the transfers to HSBC NY – the contractual
                    18    “payment location” – were domestic or extraterritorial. If the transfer was domestic,
                    19    there is no extraterritorial application of § 548. See Arcapita, 575 B.R. at 243.
                    20          The FAC alleges initial domestic transfers:
                    21          (1) Zetta PTE transferred funds from its U.S. dollar-denominated account in
                    22               Singapore through a U.S. correspondent bank (5-ER-2296–2298 ¶¶ 11,
                    23               16; 5-ER-2366–2367 ¶¶ 406; 6-ER-3436–3440 column 4, n.1.);
                    24          (2) Once the closing conditions occurred and the Debtors incurred their
                    25               obligations under the Minsheng Refinancing, IATS transferred $55
                    26               million of the $80 million in loan proceeds out of the IATS Bank of
                    27               America account in Oklahoma (5-ER-2346 ¶¶ 272-73.); and
                    28          (3) The transfers were made to HSBC HK’s correspondent bank account at
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                      1              HSBC NY, the “payment location” defined by the 2015 Plane 6 and 7
                      2              Finance Leases.
                      3         (4) Following these transfers, these funds were credited through an intrabank
                      4              transfer to UL’s Hong Kong bank account.
                      5         Notwithstanding these allegations, the Bankruptcy Court held that the FAC
                      6   sought an extraterritorial application of § 548 because the transfers were “solely”
                      7   foreign. In reaching this conclusion, the Bankruptcy Court held that “although
                      8   initially routed through New York, the funds were to be sent to [UL’s bank account]
                      9   in Hong Kong.” (4-ER-2144.) The Bankruptcy Court disregarded the initial transfers
                    10    from Zetta PTE and IATS to HSBC HK’s correspondent bank account at HSBC NY
                    11    in New York and focused exclusively on the subsequent HSBC intra-bank transfer
                    12    into UL’s Hong Kong bank account.
                    13          In doing so, the Bankruptcy Court erred. The parties specifically made a U.S.
                    14    bank account at HSBC NY the “payment location,” not a bank account located in
                    15    Hong Kong. Contrary to the Bankruptcy Court’s holding, the use of U.S.
                    16    correspondent bank accounts in foreign transactions between foreign parties
                    17    constitutes domestic conduct under § 548. See Arcapita, 575 B.R. at 245 (citing U.S.
                    18    v. Prevezon Holdings, Ltd., 251 F. Supp. 3d 684, 694 (S.D.N.Y. 2017)).
                    19          In Arcapita, the debtor, a bank in Bahrain, transferred funds from its New York
                    20    bank account at JP Morgan to HSBC NY to fund proceeds from the placement of
                    21    investments negotiated and signed in Bahrain. Id. at 233-34. HSBC NY was a U.S.
                    22    correspondent bank of Khaleeji Commercial Bank (“KCB”) in Bahrain. Id. The
                    23    defendant – Tadhamon – had a Bahraini bank account with KCB. Id. The funds
                    24    transferred to HSBC NY were immediately transferred to Tadhamon’s account at
                    25    KCB in Bahrain. Id.
                    26          The Arcapita court analyzed the “focus” of § 547 and held that “the receipt of
                    27    the transferred funds in New York correspondent bank accounts is at the heart of this
                    28    cause of action” because “the receipt of the funds in New York is precisely the
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                      1   conduct targeted by the [plaintiff], and the activity that the cause of action seeks to
                      2   have voided.” Id. at 239 (cleaned up). The Arcapita court noted that the same
                      3   extraterritoriality analysis applies to both § 547 and § 548 because “the relevant
                      4   language is the same in both.” Id. at 244 n.6. Here, as in Arcapita, the focus of the
                      5   Trustee’s claim is the initial transfer, in which UL purposely selected and used a U.S.
                      6   correspondent bank to effectuate this transaction.
                      7           Courts interpreting the term “transfer” in other federal statutory contexts (such
                      8   as the federal transportation of stolen goods6 and money laundering statutes7)
                      9   routinely hold that the use of U.S. correspondent banks in foreign transactions
                    10    between foreign parties constitutes domestic conduct within a statute’s reach.
                    11    Prevezon, 251 F. Supp. 3d at 692; see also U.S. v. Ho, 984 F.3d 191, 205 (2nd Cir.
                    12    2020) (courts “have long conceived of transfers from one place to another as being
                    13    severable, and resting in the United States, when moving through correspondent
                    14    banks”); U.S. v. Daccarett, 6 F.3d 37, 54 (2d Cir. 1993) (“with each EFT [electronic
                    15    funds transfer] at least two separate transactions occurred: first, funds moved from the
                    16    originating bank to the intermediate bank; then the intermediary bank was to transfer
                    17    the funds to the destination bank, a correspondent bank in Colombia”).
                    18            The Bankruptcy Court compounded its error by applying a “fact dependent”
                    19    test that considered “all component events of the transfers,” relying primarily on a
                    20    pre-Morrison decision, In re Maxwell Communications Corp. (Maxwell I), 186 B.R.
                    21    807, 816-17 (S.D.N.Y. 1995). Maxwell I is of questionable viability post-Morrison:
                    22    “It is not clear, however, how much of the more broad-ranging component event test
                    23    . . . survives after the Supreme Court’s decision in Morrison that instructs courts to
                    24    examine the focus of the statute. The first case to assess the components events of a
                    25    transaction was Maxwell I . . . . But Maxwell I was decided before Morrison, which
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                              18 U.S.C. § 2314.
                    28    7
                              18 U.S.C. § 1956(a)(2)(A).
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                      1   changed the legal landscape on this issue.” Arcapita, 575 B.R. at 247.
                      2         Even if the component-events test survives Morrison, the Bankruptcy Court
                      3   misapplied it. The Bankruptcy Court listed eight components to be considered – “the
                      4   [nationality of] the parties, the ‘transactions,’ the choice of law provisions, the FAA
                      5   registration and Part 135 Certificate, the maintenance of the aircraft at a U.S. airbase,
                      6   the location of the closings, the use of U.S. corporate trustees, and the denomination
                      7   of the payments” in U.S. dollars. (4-ER-2155–2156.) Although the Bankruptcy Court
                      8   listed eight components, it only gave weight to the first three components, two of
                      9   which – nationality of the parties and choice of law – have little to do with the actual
                    10    “transfers,” much less whether such transfers touched or concerned the U.S.
                    11          With respect to “transactions” component, the Bankruptcy Court bootstrapped
                    12    its erroneous conclusion disregarding the initial transfer to HSBC NY to find that the
                    13    transfers were “solely” foreign. (See 4-ER-2157.) This was error.
                    14          Moreover, the five factors discounted by the Bankruptcy Court – the FAA
                    15    registration and Part 135 Certificate, the maintenance of the aircraft at a U.S. airbase,
                    16    the location of the closings, the nominal trustees, and the denomination of payments
                    17    – all show why the parties deliberately structured the closings to occur in the U.S. and
                    18    the payments to flow through the U.S.: so that the Planes could be registered in the
                    19    U.S. and operated by Zetta USA. Without FAA registration and qualification under a
                    20    Part 135 Certificate, Planes 6 and 7 would not have been able to operate charters at
                    21    all, let alone enough to repay the loans. The 2015 Planes 6 and 7 Finance Leases and
                    22    the Minsheng Refinancing were unquestionably U.S. transactions. The Bankruptcy
                    23    Court failed to give these five factors sufficient weight under a component-events
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                      1   test.8
                      2            The Bankruptcy Court also discounted the FAC’s allegations regarding the
                      3   parties’ use of IATS to hold closing funds in its Bank of America account in
                      4   Oklahoma and to disburse the funds to HSBC NY per UL’s instructions. (See 4-ER-
                      5   2159.) The Bankruptcy Court found – on a motion to dismiss – that IATS never had
                      6   dominion and control over the funds. Id. This is irrelevant. Dominion and control are
                      7   only relevant to the identity of the initial transferee under § 550 (which governs the
                      8   liability of a transferee), not whether the debtors had an interest in the funds for
                      9   purposes of § 548. See In re Incomnet, Inc., 463 F.3d 1064, 1069 (9th Cir. 2006)
                    10    (discussing the “dominion” and “control” tests for § 550). UL is the initial transferee
                    11    and obtained dominion and control over the payments when HSBC NY received the
                    12    funds in New York as agent for UL. See Off. Comm. of Unsecured Creditors of
                    13    Arcapita v. Bahrain Islamic Bank, 549 B.R. 56, 70 n.18 (S.D.N.Y. 2016) (“Khaleeji
                    14    [the U.S. correspondent branch] acted as Tadhamon [the foreign defendant
                    15    transferee]’s agent when it received the funds, and thus, Khaleej’s receipt of funds in
                    16    New York can be imputed to Tadhamon”).
                    17                   2.    The second prong of § 548: Obligations Incurred.
                    18             Section 548 is disjunctive. It allows the Trustee to avoid not only fraudulent
                    19    transfers but also fraudulently incurred obligations. Unlike a fraudulent transfer, a
                    20
                    21    8
                           The other cases relied upon by the Bankruptcy Court are inapposite, as they involved
                    22    either (i) transfers occurring entirely outside the U.S. (In re CIL Ltd., 582 B.R. 46, 68
                    23    (Bankr. S.D.N.Y. 2018) (transfer of equity interest of a UK company to a Marshall
                          Islands company occurring wholly outside the U.S.); In re Ampal-Am., 562 B.R. 601,
                    24    603-04 (Bankr. S.D.N.Y. 2017) (transfer of Israeli shekels from Bank Hapoalim in
                    25    Tel Aviv to an Israeli law firm occurring entirely in Israel without any U.S. banking
                          nexus); Sherwood Investments Overseas Ltd., 2015 WL 4486470, at *19 (Bankr.
                    26    M.D. Fla. July 22, 2015) (transfers made from bank account in Switzerland to RBS’s
                    27    accounts in England; court found proper focus is actual “transfers,” not parties’
                          relationship or locus)), or (ii) found that § 548 has extraterritorial application (FAH
                    28    Liquidating, 572 B.R. at 125; see supra at 17)).
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                      1   fraudulently incurred obligation does not deplete an asset of an estate because it
                      2   affects the other side of a debtor’s balance sheet – it is a liability. Thus, a fraudulently
                      3   incurred obligation artificially inflates a debtor’s total liabilities, increasing the claims
                      4   pool. As the claims pool increases, recoveries to legitimate creditors are reduced and
                      5   recoveries to creditors holding fraudulently incurred claims are enhanced. 5 Collier
                      6   on Bankruptcy ¶ 548.03[4][a] (16th ed. 2021) (“Fraudulently incurred obligations
                      7   harm creditors. . . . Just as avoiding a transfer brings back assets to the estates to
                      8   increase distributions, avoiding an obligation decreases the claims against the already
                      9   existing estate assets, which then proportionately increases creditor dividends.”).
                    10           The FAC’s allegations demonstrate that the obligations incurred in the U.S.
                    11    under the 2015 Plane 6 and 7 Finance Leases, the Plane 6 Clarification, and the
                    12    Minsheng Refinancing added well over $200 million in fraudulent obligations to the
                    13    estate. (5-ER-2294–2295 ¶ 5; 5-ER-2348–2349 ¶¶ 282, 284.) Further, the FAC
                    14    alleges that the obligations under the 2015 Plane 6 and 7 Finance Leases, the Plane 6
                    15    Clarification, and the Minsheng Refinancing were incurred in the U.S.:
                    16          (1) signature pages were sent to closing rooms in the U.S. and released to each
                    17                other at the closing room including signature pages from the Debtors under
                    18                guarantees (5-ER-2340 ¶ 252; 5-ER-2344–2346 ¶¶ 266, 270-71);
                    19          (2) upon release of the signature pages in the U.S., the obligations under the
                    20                operative documents became legally effective and enforceable against the
                    21                Debtors (5-ER-2340 ¶ 252);
                    22          (3) the parties chose U.S. corporate trusts to act as principals under the
                    23                operative documents and sign the operative documents as “lessors,”
                    24                “owners,” and “lessees” (5-ER-2346–2347 ¶ 275);
                    25          (4) Zetta USA signed its guarantee in the U.S. (5-ER-2345 ¶ 268);
                    26          (5) the Debtors accepted the aircraft in the U.S., at which point they became
                    27                obliged to pay the Defendants. (5-ER-2328 ¶ 193; 5-ER-2489–2681; 5-
                    28                ER-2345–2346 ¶ 271; 5-ER-2348 ¶ 278);
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                      1         (6) with respect to the Minsheng Refinancing, all closing funds were wired
                      2               into a U.S. bank account and disbursed by a U.S. closing agent to the
                      3               parties. (5-ER-2346 ¶¶ 272-74);
                      4         (7) the Debtors’ obligations to pay “lease” payments under the 2015 Planes 6
                      5               and 7 Leases, the $55 million payment to UL under the Minsheng
                      6               Refinancing, and payment of principal and interest under the Plane 7
                      7               Supplement became effective upon satisfaction of conditions precedent
                      8               that occurred in the U.S. including the release of delivery of closing
                      9               documents and acceptance of Planes 6 and 7. (5-ER-2328 ¶¶ 191-94; 5-
                    10                ER-2332–2333 ¶¶ 211-14; 5-ER-2344–2346 ¶¶ 266-68, 270-71.)
                    11          Thus, the FAC sufficiently alleges that well over $200 million in fraudulent
                    12    obligations were added to the Debtors’ balance sheets to the prejudice of legitimate
                    13    creditors, and that the Debtors incurred these obligations in the U.S. Accordingly,
                    14    there is no extraterritorial application of § 548 and the final judgment should be
                    15    reversed.
                    16          Despite the FAC’s allegations of domestic activity, the Bankruptcy Court
                    17    dismissed the FAC. The Bankruptcy Court improperly focused on the definitions of
                    18    a “transfer” under the general definitional statute (§ 101(54)(D)) and “obligation” as
                    19    defined under inapplicable caselaw, without examining how those terms are used in
                    20    § 548. The Bankruptcy Court stated: “Congress’ intent in referencing both a transfer
                    21    and an obligation in § 548 is clear: avoiding a transfer means that property transferred
                    22    would not belong to the transferee and avoiding an obligation would mean that the
                    23    debtor is not bound by the agreement or contract [and therefore] . . . the Court finds it
                    24    would be illogical to attribute a broader meaning to obligation than to transfer.” (35-
                    25    ER-10369.)
                    26          From that predicate holding, the Bankruptcy Court held, in essence, that
                    27    because it found the transfers were extraterritorial, so too were the Debtors’
                    28    obligations to make the transfers. The Bankruptcy Court held that “none of the activity
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                      1   that the Trustee highlights pertains to the focus of § 548, which is the transfer or
                      2   obligation that depletes the estate.” (35-ER-10377.)
                      3         The Bankruptcy Court erred for two reasons. First, the meanings of the terms
                      4   “transfer” and “obligation,” standing alone, do not determine whether a transfer or
                      5   obligation is extraterritorial under § 548. Rather, the focus of § 548 is whether a
                      6   transfer was made or an obligation was incurred in the U.S. The Bankruptcy Court
                      7   did not consider the verbs “made” and “incurred” that define exactly what transfers
                      8   or obligations are being regulated by § 548. The focus of the second prong of § 548
                      9   is the incurrence of fraudulent obligations in the U.S. – not the subsequent
                    10    performance of those obligations. The second, disjunctive prong of § 548 regulating
                    11    “obligation[s] incurred” would be rendered meaningless if it could reach only those
                    12    obligations that are subsequently paid through transfers made in the U.S. See Stand
                    13    Up for California! v. U.S. Dep’t of the Interior, 959 F.3d 1154, 1159 (9th Cir. 2020)
                    14    (“In general, a statute should be construed so that effect is given to all its provisions,
                    15    so that no part will be inoperative or superfluous, void or insignificant.”) (cleaned up).
                    16          Second, the Bankruptcy Court erred by requiring a fraudulently incurred
                    17    obligation to deplete property of the estate. (35-ER-10375.) Fraudulently incurred
                    18    obligations, by definition, initially affect only the right side of a debtor’s balance
                    19    sheet: liabilities. Creditors are prejudiced by a fraudulently incurred obligation not
                    20    because of a reduction in estate assets (on the left side of the balance sheet), but rather
                    21    the fraudulent inflation of claims pool (on the right) that will reduce a legitimate
                    22    creditor’s pro rata distribution of estate assets.9 Thus, the Bankruptcy Court’s
                    23    imposition of “property depletion” requirement to a second prong “obligation
                    24
                    25
                          9
                            For example, if a debtor has $100 million in distributable assets, $200 million in
                    26    legitimate claims, and $200 million in fraudulent claims, a legitimate claimholder
                    27    holding a $10 million claim would receive only $2.5 million if fraudulent claims are
                          included in the claims pool. If fraudulent claims are excluded, the same claimholder
                    28    would receive $5 million.
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                      1   incurred” claim is reversible error.
                      2         Compounding this error, the Bankruptcy Court next examined conduct
                      3   occurring at or before closing and held that because these “obligations” – the
                      4   conditions precedent and other closing steps – “did not deplete the estate of anything,”
                      5   these “obligations” could not support a § 548 claim. (35-ER-10377.) Contrary to the
                      6   Bankruptcy Court’s characterization, conditions precedent and closing steps outlined
                      7   in the FAC are not the “obligations” the Trustee seeks to avoid. Rather, the Trustee
                      8   seeks to avoid the obligations to pay over $200 million in principal and interest under
                      9   the 2015 Planes 6 and 7 Leases, the Minsheng Refinancing and the Plane 6
                    10    Clarification. The conditions precedent and the closing steps are not “obligations,”
                    11    but rather the domestic acts taken by the parties in the U.S. that resulted in the Debtors’
                    12    fraudulent incurrence of the payment obligations. These acts demonstrate that the
                    13    payment obligations were incurred in the U.S. by reason of, among other things, the
                    14    exchange of signature pages in the U.S., the acceptance of Planes 6 and 7 in the U.S.,
                    15    the registration of Planes 6 and 7 with the FAA in the U.S., and the transfer of funds
                    16    through U.S. bank accounts to UL’s HSBC NY account. The Bankruptcy Court never
                    17    decided to the contrary. Thus, because the Bankruptcy Court did not properly consider
                    18    the allegations showing that the payment obligations under the 2015 Planes 6 and 7
                    19    Leases, the Minsheng Refinancing and the Plane 6 Clarification were incurred in the
                    20    U.S. in deciding in whether the Trustee stated a legally sufficient claims under § 548,
                    21    the Final Judgment should be reversed.
                    22                 3.     The Court may disgorge or avoid transfers (including
                                              extraterritorial transfers) made on account of domestic
                    23
                                              obligations, and a trustee may recover subsequent transfers
                    24                        outside of the U.S. under § 550.
                    25          Once fraudulently incurred obligations are avoided, any transfers made on
                    26    account of such obligations are likewise avoidable. See In re Brooke Corp., 541 B.R.
                    27    492, 507 (Bankr. D. Kansas 2015) (“[I]f the court avoids an obligation under section
                    28    548 . . . , transfers made by the debtor on account of that obligation are not made for
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                      1   reasonably equivalent value, and may be set aside as actually or constructively
                      2   fraudulent if the other requirement for actual or constructive fraud are met.”) (quoting
                      3   5 Collier on Bankruptcy ¶ 548.03[4][a]). For example, in In re International
                      4   Manufacturing Group, Inc., 2016 WL 7163588 (Bankr. E.D. Cal. Dec. 6, 2016), a
                      5   trustee sought avoidance of obligations that the debtor incurred in favor of a bank.
                      6   The bank argued that even if the trustee were to avoid the obligations, § 550 would
                      7   not provide for recovery because that section does not refer to recovery on account of
                      8   an obligation. Id. at 6. “The problem with the theory is that if one or more of the
                      9   obligations are avoided, the trustee would be seeking . . . to recover the repayments
                    10    made on the avoided obligations, repayments that were without question ‘transfers.’”
                    11    Id. If the trustee succeeds in avoiding the obligations, the payments on those
                    12    obligations would similarly be avoidable and recoverable. Id. at 8; see In re Bullion
                    13    Reserve, 922 F.2d 544, 546 n.2 (9th Cir. 1991) (“The theory under which a transfer
                    14    has been avoided is irrelevant to the liability of the transferee against whom the trustee
                    15    seeks to recover.”).
                    16          Even if the subsequent transfers were extraterritorial, the avoidance of an
                    17    extraterritorial transfer made on account of a domestic obligation is not subject to an
                    18    independent extraterritoriality test. Once the initial fraudulent conduct – here, the
                    19    Debtors’ incurrence of a fraudulent obligation – is established, then any subsequent
                    20    transfer made on account of the avoided obligation, even if extraterritorial, may be
                    21    avoided and recovered made since the first prong of § 548 and § 550 work in tandem
                    22    with the second prong of § 548 to regulate the Debtors’ fraudulent conduct.
                    23          The Second Circuit in In re Picard, 917 F.3d 85 (2d Cir. 2019), considered
                    24    whether a subsequent foreign transfer following an initial domestic fraudulent transfer
                    25    was recoverable under § 550. Id. at 97-98. The Second Circuit held that the foreign
                    26    transfer was recoverable if the initial transfer that depleted the estate was domestic. A
                    27    general purpose of “the Bankruptcy Code’s avoidance provisions, including [§ 548],
                    28    [is] protect[ing] a debtor’s estate from depletion to the prejudice of the unsecured
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                      1   creditor.” Id. at 97. The initial transfers were made in the U.S. and were thus subject
                      2   to avoidance under § 548. Id. at 98. Section 550(a) requires only avoidance of the
                      3   initial transfer that depletes the estate, because only the initial transfer involves
                      4   fraudulent conduct – indeed, any conduct – by the debtor. Id. The presumption against
                      5   extraterritoriality thus does not apply to subsequent transfers, so the location of any
                      6   initial or subsequent transferee did not matter. Id. at 100 (“The presumption against
                      7   extraterritoriality therefore does not prohibit that debtor’s trustee from recovering
                      8   such property using § 550(a), regardless of where any initial or subsequent transferee
                      9   is located.”).
                    10           Picard did not expressly deal with second prong of § 548 regarding
                    11    fraudulently incurred obligations; it only discussed transfers. However, its rationale
                    12    applies with equal force here. Section 548 regulates both fraudulent transfers and
                    13    fraudulently incurred obligations. It provides that both may be avoided. Thus, the
                    14    focus of § 548 is on the initial fraudulent conduct by the debtor that prejudiced
                    15    creditors – whether through a fraudulent transfer that depleted the estates or a
                    16    fraudulently incurred obligation that inflated claims. The latter harm was only
                    17    exacerbated by the Debtors’ subsequent transfers to UL on account of the fraudulently
                    18    incurred obligations: not only did the Defendants fraudulently increase the claims
                    19    pool, thus reducing pro rata distribution to legitimate unsecured creditors, but they
                    20    also took property out of the estate to pay down the fraudulently incurred obligations.
                    21           Under Picard, the presumption against extraterritoriality does not prohibit the
                    22    Trustee from avoiding and recovering subsequent transfers made on account of
                    23    fraudulently incurred obligations. The initial fraudulent conduct – the incurrence of
                    24    the obligations – occurred in the U.S. and was thus domestic. Because both prongs of
                    25    § 548 work together with § 550, the subsequent transfers should be avoided to afford
                    26    a meaningful remedy for the Debtors’ fraudulent conduct in fraudulently incurring the
                    27    obligations and making subsequent transfers on those obligations. See WesternGeco,
                    28    138 S. Ct. at 2137 (“If the statutory provision at issue works in tandem with other
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                      1   provisions, it must be assessed in concert with those other provisions.”); Picard, 917
                      2   F.3d 85, 98 (2d Cir 2019) (“Section 550(a) works in tandem with 548(a)(1)(A) by
                      3   enabling a trustee to recover fraudulently transferred property.”); French, 440 F.3d at
                      4   150 (“[Section] 548 focuses not on the property itself, but on the fraud of transferring
                      5   it.”); Brooke, 541 B.R. at 507 (first and second prongs work together).
                      6         The Bankruptcy Court held that because the incurrence of obligations in the
                      7   U.S. did not “deplete the estate,” there was no initial fraudulent conduct the U.S.
                      8   Rather, “they were preliminary steps to the conduct that actually depleted the estate,
                      9   which was the transfer of funds . . .” (35-ER-10379.) That ruling is both at odds with
                    10    the focus of the second prong of § 548 to prohibit claims inflation and, if upheld,
                    11    would render the second prong meaningless.
                    12          C.     The Trustee may bring his avoidance claims because the relevant
                                       transactions are subject to federal bankruptcy law pursuant to the
                    13
                                       claims administration process.
                    14                 1.    The proofs of claim, the fraudulent transfers/obligations and
                    15                       effect on distributions to creditors.
                    16          The Claims. The Defendants filed proofs of claim seeking over $78 million on
                    17    account of the obligations arising under the Plane 7 Clarification, the Third
                    18    Investment and the two $10 million loans. Thus, the Defendants have filed claims for
                    19    over $78 million under the Plane 6 Clarification and the Loan Agreements. (5-ER-
                    20    2358.) The proofs of claim thus seek distributions from the estates on account of the
                    21    very same obligations that the Trustee seeks to avoid. (See e.g., 1-ER-151–182, 5-ER-
                    22    2682–2710.)10
                    23          The Fraudulent Transfers and Obligations. In the FAC, the Trustee sought to
                    24
                    25
                          10
                             Following entry of the Final Judgment, on September 7, 2021, the Defendants also
                    26    filed a motion seeking $2,939,371.23 in attorneys’ fees and $221,887.64 in non-
                    27    taxable costs under the 2015 Plane 6 and 7 Leases and the Minsheng Refinancing.
                          (Adv. Dkt. 336 at 2-3, 7-9.) The Defendants thus are again seeking distributions from
                    28    the estates on account of the same obligations that the Trustee seeks to avoid.
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                      1   avoid over $77 million in transfers to UL, and almost $200 million in obligations
                      2   incurred under § 548. (5-ER-2294–97 ¶¶ 5, 12; 5-ER-2318 ¶ 138; 5-ER-2329 ¶¶ 198;
                      3   5-ER-2338–40 ¶¶ 248-49, 251; 5-ER-2350 ¶¶ 288-90; 5-ER-2373–79; 5-ER-2385–
                      4   87; 6-ER-3436–45.)
                      5         Impact on Creditor Distributions. The distributions to legitimate creditors will
                      6   be dramatically reduced if the Trustee is not able to avoid and recover fraudulent
                      7   transfers to the Defendants and avoid fraudulently incurred obligations. Creditor
                      8   recoveries could be wiped out altogether or significantly reduced, and the Defendants
                      9   would receive a windfall by not having to return fraudulent transfers made under the
                    10    very agreements supporting their proofs of claim while receiving pro rata distributions
                    11    on their fraudulently inflated claims. (See 30-ER-6717–6718.).
                    12                 2.     Submitting a proof of claim on a transaction renders all
                                              aspects of that transaction subject to federal bankruptcy law,
                    13
                                              which makes the presumption against extraterritoriality
                    14                        irrelevant.
                    15          The claims sought to be paid are transactions with the Debtors that need to be
                    16    considered and resolved through the bankruptcy claims administration process. See
                    17    §§ 501-511. By invoking the equitable process of administration, the Defendants
                    18    made an election that fundamentally changed the nature of the rights that they held,
                    19    the authority applicable to the transactions that are the subject of the claims, and the
                    20    procedure used to adjudicate the claims.
                    21          “The whole process of proof, allowance, and distribution is, shortly speaking,
                    22    an adjudication of interests claimed in a res.” Katchen, 382 U.S. at 329-330 (quoting
                    23    Gardner v. N.J., 329 U.S. 565, 574 (1947)). Accordingly, upon submission of a proof
                    24    of claim, the “creditor’s claim” becomes “integral to the restructuring of the debtor-
                    25    creditor relationship.” Lagenkamp v. Culp, 498 U.S. 42, 44 (1990).
                    26          The filing of a proof of claim merges the transaction that is the subject of the
                    27    claim into the res of the bankruptcy estate, thus rendering the transaction intrinsically
                    28    domestic in nature. Since the inception of modern bankruptcy law, the filing of a proof
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                      1   of claim has always been understood as an act that transforms a creditor’s legal rights
                      2   into an equitable interest wholly subject to the equitable process of administration.
                      3   Before a proof of claim is filed, the creditor holds legal (as opposed to equitable)
                      4   rights against a debtor. Those rights are pursued in courts of law, subject to various
                      5   procedural restrictions and constitutional protections. Filing a proof of claim
                      6   extinguishes those rights and replaces them with entirely different equitable, property-
                      7   like interests in the res of the bankruptcy estate. Katchen, 382 U.S. at 336 (holding
                      8   that filing a proof of claim “converts the creditor’s legal claim into an equitable claim
                      9   to a pro rata share of the res”). That transformation fundamentally narrows the
                    10    procedural protections previously afforded to the parties and broadens the court’s
                    11    authority over the alleged conduct of the parties before it according to the distinct
                    12    principles of equity jurisprudence and the exercise of “plenary power” over the
                    13    bankruptcy res. See Marshall v. Marshall, 547 U.S. 293 (2006); Ex parte Christy, 44
                    14    U.S. 292 (1845).
                    15          The same reasoning establishes that an avoidance action on a proof of claim is
                    16    a dispute that is fundamentally in rem in nature. Sections 502(d) and 704(a)(5)
                    17    mandate that the trustee assert, and the bankruptcy court resolve, avoidance claims in
                    18    connection with the claims administration process. Accordingly, an avoidance claim
                    19    against the creditor on a proof of claim is equally “integral to the restructuring of the
                    20    debtor-creditor relationship.” Langenkamp, 498 U.S. at 44; see also N. Pipeline
                    21    Const. Co. v. Marathon Pipe Line Co., 458 U.S. 50, 54 (1982); Pepper v. Litton, 308
                    22    U.S. 295, 304 n.11 (1939); U.S. Fid. & Guar. Co. v. Bray, 225 U.S. 205, 217 (1912).
                    23    Thus, when a proof of claim has been filed, the transaction is now subject to the
                    24    equitable administration process and the bankruptcy court’s “full power to inquire
                    25    into the validity of any alleged debt or obligation of the bankruptcy upon which a
                    26    demand or a claim against the estate is based.” Katchen, 382 U.S. at 329. That also
                    27    means that the adjudication of the avoidance action on a proof of claim is a dispute
                    28    concerning the res of the estate and is subject to § 541. Id.
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                      1         These principles still hold true today. In Stern v. Marshall, 564 U.S. 462 (2011),
                      2   decided after Morrison, the Supreme Court reaffirmed that “he who invokes the aid
                      3   of the bankruptcy court by offering a proof of claim and demanding its allowance
                      4   must abide the consequences of that procedure.” Id. at 496 (quoting Katchen, 382
                      5   U.S. at 333 n.9).
                      6         Accordingly, the Ninth Circuit and other courts recognize that submitting a
                      7   proof of claim satisfies the requirement for domestic application of a statute. See In
                      8   re Simon, 153 F.3d 991, 997 (9th Cir. 1998) (“because Hong Kong–Shanghai fully
                      9   participated in the Simon bankruptcy, thus surrendering to United States jurisdiction
                    10    . . . the presumption against extraterritorial effect of a statute does not apply”); see
                    11    also Diaz-Barba v. Kismet Acquisition, LLC, 2010 WL 2079738, at *7 (S.D. Cal. May
                    12    20, 2010) (“when a party affirmatively invokes the jurisdiction of the bankruptcy
                    13    court, the presumption against extraterritoriality does not apply to that party” in the
                    14    context of §§ 549 and 550(a)(2)) (citing Simon); In re Interbulk, Ltd., 240 B.R. 195,
                    15    199 (Bankr. S.D.N.Y. 1999) (“[Creditor] has submitted itself to the equitable
                    16    jurisdiction of this court through the filing of a proof of claim, again unlike in
                    17    Maxwell. I cannot conclude that the application of our laws to this set of facts would
                    18    be an extraterritorial one.”). Thus, given the claims filed here, as in Simon, this Court
                    19    thus “need not decide” the first step under Morrison and Nabisco, whether the statute
                    20    “applies extraterritorially in all cases.” Simon, 153 F.3d at 997.
                    21          In the First Ruling, the Bankruptcy Court erred by failing to apply Simon to
                    22    sustain the Trustee’s claims. (4-ER-2167–2168.) The Bankruptcy Court first held that
                    23    Simon dealt with a domestic application of the Bankruptcy Code because district
                    24    courts have in rem jurisdiction over all estate property and none of the avoidance
                    25    statutes contain such expansive language as § 524. (4-ER-2168.) The Bankruptcy
                    26    Court only addressed the first issue raised in Simon: whether the discharge injunction
                    27    could enjoin collection actions against debtor property under § 524(a)(3). Because the
                    28    text of § 524(a)(3) expressly encompasses § 541 property of the estate “wherever
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                      1   located” as within the scope of a discharge injunction, that part of Simon’s holding is
                      2   not controversial.
                      3         However, the Bankruptcy Court ignored the “more difficult problem” raised in
                      4   Simon regarding the extraterritorial enforceability of discharge injunction to cover a
                      5   collection action against the debtor personally, or against assets which did not form
                      6   property of the estate, under § 524(a)(2). Simon, 153 F.3d at 996-97. Like §§ 547
                      7   and 548, § 524(a)(2) does not contain a clear statement of extraterritorial
                      8   applicability. It states, in pertinent part: “A discharge in a case under this title . . .
                      9   operates as an injunction against the commencement or continuation of an action . . .
                    10    to collect, recover or offset any such debt as a personal liability of the debtor.” Section
                    11    524(a)(2) does not refer to property of the estate under § 541, much less provide for a
                    12    discharge of personal liability anywhere in the world including against non-debtor
                    13    property. The Simon court held that it did not have to address this “more difficult
                    14    problem” because HSBC’s filing a proof of claim submitted HSBC to the jurisdiction
                    15    of the bankruptcy court to adjudicate “an equitable claim to a pro rata share of the
                    16    res” and did not result an improper extraterritorial application of U.S. laws to enforce
                    17    the discharge against the debtor personally or against non-debtor property. Simon, 153
                    18    F.3d at 997. Thus, the Bankruptcy Court erred when it failed to apply this key aspect
                    19    of Simon.
                    20          Next, the Bankruptcy Court erroneously rejected the Trustee’s arguments that
                    21    the filing of proof of claim by UL and Glove subjected them to the Bankruptcy Court’s
                    22    equitable jurisdiction to recover fraudulent transfers under § 548 as part of the claims
                    23    adjustment process. Citing Morrison, the Bankruptcy Court argued that because the
                    24    extraterritorial reach of § 548 is a “merits” question, and not a jurisdictional one,
                    25    § 548 could not be invoked to avoid an extraterritorial transfer. (4-ER-2219.)
                    26          The Bankruptcy Court misread Morrison and imposed an inappropriate
                    27    statutory barrier to circumscribe a bankruptcy court’s equitable powers. In Morrison,
                    28    the Supreme Court held that the extraterritorial application of a statute went to the
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                      1   merits rather than the subject matter jurisdiction of the court. Morrison, 561 U.S. at
                      2   254. When a creditor files a proof of claim, it submits to the bankruptcy court’s
                      3   equitable jurisdiction to adjudicate the creditor’s pro rata share of the res and waives
                      4   any challenge to extraterritoriality. See Simon, 153 F.3d at 997. Thus, Morrison’s
                      5   statement regarding “jurisdiction” has nothing to do with the bankruptcy court’s
                      6   equitable jurisdiction to invoke § 548 to avoid an extraterritorial transfer as part of the
                      7   domestic claims adjustment process. Since the presumption against extraterritoriality
                      8   is a merits question, UL and Glove Assets can, and did, waive any extraterritoriality
                      9   objection through their voluntary domestic act of filing over $78 million in claims
                    10    that triggered the domestic debtor-creditor adjustment process. Courts routinely hold
                    11    that challenges to the extraterritorial application of a statute may be waived precisely
                    12    because they are merits questions rather than jurisdictional ones. See U.S. v. Miranda,
                    13    780 F.3d 1185, 1191 (D.C. Cir. 2015); U.S. v. Wolfenbarger, 2020 WL 2614958, at
                    14    *3, 5 (N.D. Cal. May 22, 2020).
                    15          As such, nothing in Morrison erodes the inherent equitable jurisdiction of a
                    16    bankruptcy court to adjust the debtor-creditor relationship through the domestic
                    17    claims administration process. As Simon noted, the claims process is by definition
                    18    domestic, triggered by a creditor’s domestic act of filing a proof of claim asking a
                    19    U.S. bankruptcy court to determine the creditor’s “equitable claim to a pro rata share
                    20    of the res.” § 501. Simon, 153 F.3d at 997. Sections 548 and 550 are integral tools to
                    21    carry out a bankruptcy court’s fundamental power to adjust the debtor-creditor
                    22    relationship to insure equitable distributions of the res to creditors, Katchen, 382 U.S.
                    23    at 329, and this precept was reaffirmed by the Supreme Court in Stern, decided one
                    24    year after Morrison. See Stern, 564 U.S. at 497 (reaffirming Katchen and Langenkamp
                    25    that avoidance claim can be heard through bankruptcy court’s summary adjudication
                    26    when creditor has filed claim because it becomes integral to restructuring of debtor-
                    27    creditor relationship).
                    28          Accordingly, the Bankruptcy Court’s dismissal of Simon as “unpersuasive”
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                      1   ignores the inherently domestic nature of the claims process and creditor’s domestic
                      2   act triggering the process by filing a proof of claim, which Morrison did not address.
                      3   Simon and Morrison “can coexist,” and the Bankruptcy Court thus erred by refusing
                      4   to apply Simon based on Morrison. See Langere v. Verizon Wireless Servs., LLC, 983
                      5   F.3d 1115, 1121–22 (9th Cir. 2020) (explaining that precedent remains binding unless
                      6   the “Supreme Court has undercut the theory or reasoning underlying the prior circuit
                      7   precedent in such a way that the cases are clearly irreconcilable” and that the “burden
                      8   is high” to make such a showing).
                      9   II.    Count VI of the FAC states a claim for recharacterization.
                    10           The Bankruptcy Court dismissed Count VI of the FAC on the grounds that June
                    11    27, 2017 transfer to fund the Third Investment was extraterritorial. This was error.
                    12           UL filed a proof of claim seeking a distribution on the Third Investment. In
                    13    Count VI of the FAC, the Trustee seeks recharacterize the Third Investment as an
                    14    equity interest and disallow the claim under §§ 105(a) and 502. The Trustee does not
                    15    seek to avoid any transfer of funds under Count VI, but rather to object to and disallow
                    16    a claim filed by UL. Objecting to a filed claim is a domestic application of these
                    17    statutes. Whether the funding of the Third Investment occurred outside the U.S. is
                    18    irrelevant. To hold otherwise would prevent a debtor from objecting to a claim that
                    19    arose outside the U.S. This is not tenable under the precedent outlined above,
                    20    including Simon.
                    21    III.   The Bankruptcy Court erred in denying the Trustee’s motion for leave to
                                 amend Counts VIII and IX.
                    22
                                 The Bankruptcy Court erred in denying the trustee’s motion for leave to amend
                    23
                          Counts VIII and IX and granting the Defendants’ motion to strike for three
                    24
                          independent reasons. First, “[t]he right to amend is broad, and encompasses the right
                    25
                          to add a new cause or theory of action.” Urista v. Bank of Am., N.A., 2012 WL 10596,
                    26
                          at *6 (N.D. Cal. Jan. 3, 2012). Courts in the Ninth Circuit “generally allow plaintiffs
                    27
                          to add new claims and/or parties to an amended complaint where a prior order of
                    28
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                      1   dismissal granted leave to amend without limitation.” MAO-MSO Recovery II, LLC
                      2   v. Mercury Gen., 2018 WL 3357493, at *4 (C.D. Cal. May 23, 2018). Accordingly,
                      3   the recharacterization claims were within the scope of the Bankruptcy Court’s leave
                      4   to amend.
                      5         Second, even if the Trustee’s amendments exceeded the scope of the
                      6   Bankruptcy Court’s order, they should not be struck. In contrast to the extreme
                      7   liberality regarding amendment, “[c]ourts have long disfavored Rule 12(f) motions,
                      8   granting them only when necessary to discourage parties from making completely
                      9   tendentious or spurious allegations” that will prejudice the opposing party. Sapiro v.
                    10    Encompass Ins., 221 F.R.D. 513, 518 (N.D. Cal. 2004)); Allen v. Cty. of Los Angeles,
                    11    2009 WL 666449, at *2 (C.D. Cal. Mar. 12, 2009). Courts regularly deny motions to
                    12    strike claims even when they exceed the scope of a court’s leave-to-amend order. See,
                    13    e.g., Beavers v. New Penn Fin. LLC, 2018 WL 385421, at *3 (E.D. Cal. Jan. 11, 2018);
                    14    Sapiro, 221 F.R.D. at 518; Manzano v. Metlife Bank N.A., 2011 WL 2080249, at *3
                    15    (E.D. Cal. May 25, 2011). In Allen, the court denied a motion to strike even though
                    16    the “new claims exceed[ed] the scope of the court’s leave to amend” because the
                    17    defendant did “not assert prejudice” and the allegations were not “completely
                    18    immaterial or redundant[.]” 2009 WL 666449, at *3. So too here.
                    19          Third, the Bankruptcy Court should have considered the FAC as a motion to
                    20    amend. See Popov v. Countrywide Fin. Corp., 2009 WL 5206679, at *2 (E.D. Cal.
                    21    Dec. 18, 2009). “The policy of freely granting leave to amend should be applied with
                    22    ‘extreme liberality.’” Id. at *2 (quoting DCD Programs, Ltd. v. Leighton, 833 F.2d
                    23    183, 186 (9th Cir. 1987)). Here, the Trustee did not delay amendment, did not seek
                    24    amendment in bad faith, the amendments were not futile, and they did not prejudice
                    25    the Defendants. Id.
                    26    IV.   The FAC states a § 502(d) claim.
                    27          The Bankruptcy Court erred in dismissing Count X for disallowance of claims
                    28    under § 502(d) because it incorrectly held that the Trustee failed to state claims under
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                      1   §§ 548 and 550. (35-ER-10389.) The FAC states claims under §§ 548 and 550, so
                      2   Count X should not have been dismissed.
                      3                                    CONCLUSION
                      4         For these reasons, the Trustee respectfully requests that the Court reverse the
                      5   Bankruptcy Court’s order dismissing the FAC without leave to amend.
                      6
                      7   DATED: December 30, 2021             DLA PIPER LLP (US)
                      8
                                                               By: /s/ David B. Farkas
                      9                                        DAVID B. FARKAS
                    10                                         JOHN K. LYONS (Pro Hac Vice)
                                                               JEFFREY S. TOROSIAN (Pro Hac Vice)
                    11                                         JOSEPH A. ROSELIUS (Pro Hac Vice)
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                                                               Attorneys for Appellant Jonathan D. King as
                    13                                         Chapter 7 Trustee
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                      1                  ADDENDUM OF STATUTORY PROVISIONS
                      2   11 U.S.C. § 501. Filing of proofs of claims or interests.
                      3   (a) A creditor or an indenture trustee may file a proof of claim. An equity security
                      4       holder may file a proof of interest.
                      5
                      6   11 U.S.C. § 502. Allowance of claims or interests.
                      7   (a) A claim or interest, proof of which is filed under section 501 of this title, is deemed
                      8       allowed, unless a party in interest, including a creditor of a general partner in a
                      9       partnership that is a debtor in a case under chapter 7 of this title, objects.
                    10    (b) Except as provided in subsections (e)(2), (f), (g), (h) and (i) of this section, if such
                    11        objection to a claim is made, the court, after notice and a hearing, shall determine
                    12        the amount of such claim in lawful currency of the United States as of the date of
                    13        the filing of the petition, and shall allow such claim in such amount . . . .
                    14    *      *      *
                    15    (d) Notwithstanding subsections (a) and (b) of this section, the court shall disallow
                    16        any claim of any entity from which property is recoverable under section 542, 543,
                    17        550, or 553 of this title or that is a transferee of a transfer avoidable under section
                    18        522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of this title, unless such entity
                    19        or transferee has paid the amount, or turned over any such property, for which such
                    20        entity or transferee is liable under section 522(i), 542, 543, 550, or 553 of this title.
                    21
                    22    11 U.S.C. § 541. Property of the estate.
                    23    (a) The commencement of a case under section 301, 302, or 303 of this title creates
                    24        an estate. Such estate is comprised of all the following property, wherever located
                    25        and by whomever held:
                    26        (1) Except as provided in subsections (b) and (c)(2) of this section, all legal or
                    27           equitable interests of the debtor in property as of the commencement of the
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                      1            case.
                      2            *          *      *
                      3         (3) Any interest in property that the trustee recovers under section 329(b), 363(n),
                      4            543, 550, 553, or 723 of this title.
                      5
                      6   11 U.S.C. § 548. Fraudulent transfers and obligations.
                      7   (a)
                      8         (1) The trustee may avoid any transfer (including any transfer to or for the benefit
                      9            of an insider under an employment contract) of an interest of the debtor in
                    10             property, or any obligation (including any obligation to or for the benefit of an
                    11             insider under an employment contract) incurred by the debtor, that was made
                    12             or incurred on or within 2 years before the date of the filing of the petition, if
                    13             the debtor voluntarily or involuntarily—
                    14             (A) made such transfer or incurred such obligation with actual intent to hinder,
                    15                 delay, or defraud any entity to which the debtor was or became, on or after
                    16                 the date that such transfer was made or such obligation was incurred,
                    17                 indebted; or
                    18             (B)
                    19                 (i) received less than a reasonably equivalent value in exchange for such
                    20                        transfer or obligation; and
                    21                 (ii)
                    22                        (I) was insolvent on the date that such transfer was made or such
                    23                            obligation was incurred, or became insolvent as a result of such
                    24                            transfer or obligation;
                    25                        (II) was engaged in business or a transaction, or was about to engage in
                    26                            business or a transaction, for which any property remaining with the
                    27                            debtor was an unreasonably small capital;
                    28                        (III) intended to incur, or believed that the debtor would incur, debts that
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                      1                       would be beyond the debtor’s ability to pay as such debts matured; or
                      2                   (IV) made such transfer to or for the benefit of an insider, or incurred
                      3                       such obligation to or for the benefit of an insider, under an
                      4                       employment contract and not in the ordinary course of business.
                      5
                      6   11 U.S.C. § 550. Liability of transferee of avoided transfer.
                      7   (a) Except as otherwise provided in this section, to the extent that a transfer is avoided
                      8         under section 544, 545, 547, 548, 549, 553(b), or 724(a) of this title, the trustee
                      9         may recover, for the benefit of the estate, the property transferred, or, if the court
                    10          so orders, the value of such property, from—
                    11          (1) the initial transferee of such transfer or the entity for whose benefit such
                    12             transfer was made; or
                    13          (2) any immediate or mediate transferee of such initial transferee.
                    14
                    15    28 U.S.C. § 157. Procedures.
                    16    (a) Each district court may provide that any or all cases under title 11 and any or all
                    17          proceedings arising under title 11 or arising in or related to a case under title 11
                    18          shall be referred to the bankruptcy judges for the district.
                    19    (b)
                    20          (1) Bankruptcy judges may hear and determine all cases under title 11 and all core
                    21             proceedings arising under title 11, or arising in a case under title 11, referred
                    22             under subsection (a) of this section, and may enter appropriate orders and
                    23             judgments, subject to review under section 158 of this title.
                    24          (2) Core proceedings include, but are not limited to—
                    25             *      *      *
                    26             (B) allowance or disallowance of claims against the estate or exemptions from
                    27                 property of the estate, and estimation of claims or interests for the purposes
                    28                 of confirming a plan under chapter 11, 12, or 13 of title 11 but not the
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                      1           liquidation or estimation of contingent or unliquidated personal injury tort
                      2           or wrongful death claims against the estate for purposes of distribution in a
                      3           case under title 11;
                      4       (C) counterclaims by the estate against persons filing claims against the estate;
                      5       *      *      *
                      6       (H) proceedings to determine, avoid, or recover fraudulent conveyances;
                      7       *      *      *
                      8       (O) other proceedings affecting the liquidation of the assets of the estate or the
                      9           adjustment of the debtor-creditor or the equity security holder relationship,
                    10            except personal injury tort or wrongful death claims . . . .
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